             Case 3:15-cv-01857-SI      Document 282        Filed 04/12/19     Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



 LORI WAKEFIELD, individually and on                   Case No. 3:15-cv-1857-SI
 behalf of a class of others similarly
 situated,                                             SPECIAL VERDICT

                  Plaintiff,

         V.

 VISALUS, INC.,

                  Defendant.



        WE, THE JURY, being first duly sworn, unanimously find as follows:

                                           COUNT ONE

                                Ms. Wakefield's Individual Claim

        1.       Did the Plaintiff, Ms. Wakefield, prove by a preponderance of the evidence that

the Defendant, ViSalus, Inc., made or initiated at least one telemarketing call using an artificial

or prerecorded voice to a residential telephone line (residential landline) belonging or registered


to   Ms. Wakefie::     vi7 of      the TCPA? NO

                                                   ----




Ifyou answered "Yes" to Question No.  I, please proceed to Question No. 2. Ifyou answered
"No" to Question No. I, please skip Question No. 2 and proceed to Question No. 3.


PAGE 1 - SPECIAL VERDICT
             Case 3:15-cv-01857-SI       Document 282        Filed 04/12/19      Page 2 of 4




        2.        How many telemarketing calls using an artificial or prerecorded voice made or

initiated to a residential telephone line (residential landline) belonging or registered to

Ms. Wakefield did the Plaintiff prove by a preponderance of the evidence?


                                 _ __ __y_,___ _ _ (number)


                                            COUNT TWO

                                             Class Claim

             A.     Mobile (Cellular) Telephones and Residential Landlines Combined

        3.        Did the Plaintiff, as Class Representative, prove by a preponderance of the

evidence that the Defendant, ViSalus, Inc., made or initiated at least one telemarketing call using

an artificial or prerecorded voice to either: (a) a mobile (or cellular) telephone or (b) a residential

telephone line (residential landline), belonging or registered to one or more class members other

than Ms. Wakefield, in violation of the TCPA?


                  YES      ✓                   NO - - - - -

Ifyou answered "Yes" to Question No . 3, please proceed to Question No.  4. Ifyou answered
"No" to Question No. 3, please skip all remaining questions and have the presiding juror date
and sign this form.

       4.         How many telemarketing calls using an artificial or prerecorded voice made or

initiated by the Defendant, ViSalus, Inc., to either: (a) a mobile (or cellular) telephone or (b) a

residential telephone line (residential landline), belonging or registered to one or more class

members other than Ms. Wakefield, in violation of the TCP A, did the Plaintiff, as Class

Representative, prove by a preponderance of the evidence?


                                 ( 1   g50 j l/3 b         (number)




PAGE 2 - SPECIAL VERDICT
             Case 3:15-cv-01857-SI        Document 282      Filed 04/12/19     Page 3 of 4




                            B.         Mobile (Cellular) Telephones Only

        5.       Did the Plaintiff, as Class Representative, prove by a preponderance of the

evidence that the Defendant, ViSalus, Inc., made or initiated at least one telemarketing call using

an artificial or prerecorded voice to a mobile (or cellular) telephone belonging or registered to

one or more class members other than Ms. Wakefield, in violation of the TCPA?


                 YES - -/- - -                  NO - - - - -

Jfyou answered "Yes" to Question No. 5, p lease proceed to Question No. 6. Jfyou answered
"No" to Question No. 5, please skip Question No. 6 and proceed to Question No. 7.

        6.       How many telemarketing calls using an artificial or prerecorded voice made or

initiated by the Defendant, ViSalus, Inc., to a mobile (or cellular) telephone belonging or

registered to one or more class members other than Ms. Wakefield, in violation of the TCP A, did

the Plaintiff, as Class Representative, prove by a preponderance of the evidence?


                               ·w:e_   &1.LqNJr kJ1_      (number)


                          C.       Residential Landline Telephones Only

       7.        Did the Plaintiff, as Class Representative, prove by a preponderance of the

evidence that the Defendant, ViSalus, Inc., made or initiated at least one telemarketing call using

an artificial or prerecorded voice to a residential telephone line (residential landline) belonging

or registered to one or more class members other than Ms. Wakefield, in violation of the TCP A?


                 YES~✓
                     -                          NO - - -- -

Jfyou answered "Yes" to Question No. 7, please proceed to Question No . 8. Jfyou answered
"No" to Question No. 7, please skip Question No . 8 and have the presiding juror date and sign
this form .




PAGE 3 - SPECIAL VERDICT
            Case 3:15-cv-01857-SI       Document 282        Filed 04/12/19      Page 4 of 4




       8.       How many telemarketing calls using an artificial or prerecorded voice made or

initiated by the Defendant, ViSalus, Inc., to a residential telephone line (residential landline)

belonging or registered to one or more class members other than Ms. Wakefield, in violation of

the TCPA, did the Plaintiff, as Class Representative, prove by a preponderance of the evidence?




Your deliberations are now complete. Please have the presiding juror date and sign this form
and inform the Courtroom Deputy that you are ready to return to the Courtroom.


       DATED this      / ;J_~ay of April, 2019.




PAGE 4 - SPECIAL VERDICT
